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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION


Twanda Marshinda Brown, et al.,

                        Plaintiffs,                                   Civil Action No.
                                                                    3:17-cv-01426-MBS
        v.

Lexington County, South Carolina, et al.,

                        Defendants.


     STIPULATION OF AUTHENTICITY AND ADMISSIBILITY OF EVIDENCE

       On or about November 2, 2018, while the parties were working to mediate this matter,

South Carolina Court Administration (SCCA) Staff Attorney Renee Lipson sent a collection of

SCCA documents to The Honorable Shiva V. Hodges, who was serving as mediator. See Bates

Nos. SCCA-000001–112. Magistrate Judge Hodges then shared the documents with all parties

as part of mediation efforts.

       The parties hereby stipulate to the authenticity of these documents and that the

documents and any testimony or arguments related to the documents may be admitted as

evidence at trial. In so stipulating, the parties do not waive any other aspect of the

confidentiality of the mediation process as set forth in Local Rule 16.08(C). In addition,

Defendants do not waive any other aspect of confidentiality of any other communications

between or among officials or employees of the South Carolina Judicial Branch, including

South Carolina Court Administration and county magistrates and persons under the direction

and control of county magistrates.




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       It is further stipulated that the aforementioned documents, SCCA-000001–112, as well as

this stipulation, may be filed by either party at the time of filing of dispositive motions, and at

trial, if the case goes to trial.

       DATED this 4th day of June, 2021.

Respectfully submitted by,


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